                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                      3:08-cr-134

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )             PRELIMINARY ORDER
               v.                                 )               OF FORFEITURE
                                                  )
(2) ALEJANDRO ENRIQUE RAMIREZ                     )
UMANA,                                            )
                                                  )
                       Defendant.                 )

       In the Third Superseding Bill of Indictment in this case, the United States sought forfeiture

of property of the Defendant as property that was used or intended to be used to facilitate the crimes

charged, which would be subject to forfeiture under 18 U.S.C. § 924(d) and 21 U.S.C. § 853, as

incorporated by 28 U.S.C. § 2461(c).

       Defendant was subsequently convicted by a jury on Count Twenty-Seven in the Third

Superseding Bill of Indictment, among others, and was adjudged guilty of the offense charged in

that count. Based on evidence already in the record, including the Defendant’s relevant conduct as

set forth in the pre-sentence report, the Government has established the requisite nexus between the

property and such offenses.

       It is therefore ORDERED:

       1. Based upon Defendant’s conviction, the United States is authorized to seize the following

property belonging to Defendant, and it is hereby forfeited to the United States for disposition

according to law, subject to the provisions of 21 U.S.C. § 853(n):

               One Ruger .45 caliber semi-automatic pistol and ammunition.

       2. Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish notice of this order;




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notice of its intent to dispose of the property in such manner as the Attorney General may direct; and

notice that any person, other than the Defendant, having or claiming a legal interest in any of the

above-listed forfeited property must file a petition with the Court within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier. This notice shall state that

the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the

property, shall be signed by the petitioner under penalty of perjury, and shall set forth the nature and

extent of the petitioner’s right, title or interest in each of the forfeited properties and any additional

facts supporting the petitioner’s claim and the relief sought. The United States may also, to the

extent practicable, provide direct written notice to any person known to have alleged an interest in

property that is the subject of this Order of Forfeiture, as a substitute for published notice as to those

persons so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n).

                                                    Signed: July 26, 2010




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